Simon Consulting, LLC
Robert Sonnenschein, ct. al. v. Palo Verde Capital, LLC, et. al.

PVPE, LLC & Palo Verde Fund, LP
Sources & Uses Analysis: Executive Summary Exhibit 1

SOURCES OF CASIL

Investor Transactions

Investor Deposits 8 37,181,719
Investor Withdrawals 8 12,558,882
Net Investor Transactions Ss 24,922,836
Business Income 43,735,791
Gross Inca Loan Proceeds 600,000
Unknown Deposits 40,878 486

TOTAL SOURCES OF CASIL: §$ 110,137,114

USES OF CAS:

Net Investment Losses 5 (16,960,257)
Net Securities Losses (3,675,021)
Net Transfers to Related Parties
Tony Stacy (3.811, 868)
Jim Strickland (30,142)
Paul Ross (130,671)
Martin Garber (32.315)
Calvin Purdin (6.450)
Subtotal (4,011,446)
Business Expenses
Payroll Expenses (2.241.213)
Professional Fees (837.087)
Legal Fees (337.726)
Miscellancous Business Expenses (36,623 .4180)
Rent (564,520)
Cynthia Robertson Interior Designs (143,706)
Subtotal (40,747,733)
Other ‘Transactions
Credit Card/Loan Payments (21,974,501)
Miscellaneous Individuals (381,452)
Miscellaneous Other ‘Transactions (74,591)
Inca Loan Fees & Closing Costs (20.725)
Subtotal (22,451,269)
Unknown Withdrawals (16,785,261)
Net Intercompany Transfers to Non-Summarized Accounts (6,554,016)

TOTAL USES OF CASIL: (111,185,002)

REMAINING BALANCE (AS OF 12/31/13): 8 (1,047,888)

:
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Simon Consulting, LLC
Robert Sonnenschein, ef. al. v. Palo Verde Capital, LLC, et. al.

PVPE, LLC & Palo Verde Fund, LP
Sources & Uses Analysis: Summary

Category

intercompany Transfers
Palo Verde Fund, LP - JEF 0193
Palo Verde Fund, LP - JEF 0195
Palo Verde Fund, LP - JEF 5471
Palo Verde Fund, LP - JEF 5472
Pato Verde Fund, LP - JEF 5473
Palo Verde Fund, LP - Merlin 3200
Palo Verde Fund, LP - Merlin 6048
Palo Verde Fund, LP - PER 4710
Palo Verde Fund, LP - PER 4714
Palo Verde Fund, LP - ‘think 9978
Palo Verde Fund, LP American Express
Pato Verde Private Equity Fund, LP - PER 5741
Palo Verde Private Equity Fund, 1.0 - Schwab 9872
PVPE, LLC - Chase 2048
PVPE, LLC - Chase 9353
Empire Financial Services, Inc, - Security 9958
Empire Finuncial Services, Inc: - Security 1685
Empire Fi Financial Services, Inc. - - Security 0085.
Empire Fi Financial Serviecs. Inc. > Security | 1715 —
Empire Fi Financial Services, Ine, Security. 0332
Empire I Financial Services, Inc:~ Merlin'3769
Empire Fi inancial, Services, Tac, Firstar 9325 .
American. Energy ‘Solutions 4 124 “
American nergy Solutions 4132
Acumen Energy Solutions 9372

 

Deposits = Withdrawals

987,089 12,867.638
21,765,554 41,908
5,345.664 25,342,031
12,337,089 2,059,000
3,663,748 690,841

$4,866 2.738,493

302,925 -
3,367,322 3,214,757

277,058 257.642

190,841 500,051

- 283,766
1,460,015 210,000
346,591 258,807

7A3 15,500

322,930 1,889.335
20,786,452, °° 22.273,744--

fo, 1,598

21,431,468 ©) 17,474,935
67: 532,560
"284,349

"3,255,778

" 10,000

212,087

3,073,374

- 100,600

Exhibit 2

Net Total Notes

(11,880,549)
21.723.646
(19,996,367)
10,278,089
2,972,506
(2.653,627)
302,925
152,566
19.416
(309.210)
(283,766)
1.250.015
87,784
(14,757)
(1,566,405)
(1,487;292)

: (1,598) >.
:3,956.533
- 532.493)
(364)
A 968,844)
(167)
3,118,847

(3,067,287)

(100,000)

 

Subtotal Intereompany ‘Transfers

Other Infercompany Transfers (Non-Sammarized Accounts)

97,588,194 97,588,194

 

Palo Verde Fund, LP - MFG 0600 1,462,000 1,500,000 (38,000) = [)]
Paragon Capital Advisors. LLC - ONB Bank & Trust 3.113 12,842 (9,730) = [2]
American Energy Solutions (unknown Acct) 7.163 4,497,063 (4,489,901)
Acumen Energy (unknown acct) - 236,875 (236,875)
Acumen Energy Bill.cam Account 206,078 1,985,590 (8.779.511)
Subtotal Other Intercompany ‘Transfers 1,678,353 $,232,370 (6,554,016)
Related Parties

Calvin Purdin - 6,150 (6,450)

Jim Strickland - Cable Expense - 1.717 (1.717)

Jim Strickland - Personal Expenses 265 10,029 (9,764)

Jim Strickland - Restaurants/Groceries - 7,860 (7,860)

Jim Strickland - Travel 418 11,219 (10,801)
Martin Garber - 32,315 (32,315)

Paul Ross 37,000 366,726 (329,726) [3]
Paul Ross - CMT / PAR SII, Inc. 352,613 115.900 236.713 {3}
Paul Rass - Personal Expenses - 341 (341)

Paul Ross - Restaurants/Grocerics - 9,034 (9.034)

Paul Ross - Travel Expenses 391 28,675 (28,283)

Tony Stacy 89,773 577,982 (488,209)

Tony Stacy - Alan Kaplan Nate 150,000 - 150,000

Tony Stacy - Barry Zemel Note 150,000 - 150,000

Tony Stacy - Cable Expense - 25,898 (25,898)

Tony Stacy - Cash Withdrawals - 15,160 (15,160)

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Simon Consulting, LLC
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PVPE, LLC & Palo Verde Fund, L?

 

 

 

 

 
  
   
   

 

Sourees & Uses Analysis: Summary Exhibit2
Catepory Deposits — Withdrawals Net Total Notes
Tony Stacy - Credit Card Payment (PV Capital, L1.C) 359,801 - 359,801
Tony Stacy - DC Ranch - 38,359 (38,359)
‘Tony Stacy + Empire Repayment from Inca Loan - 360.135 (360,135) = [4]
Tony Stacy - Eruces Steck Purchase - 425,000 (425,000) [5]
Tony Stacy - Nephro Tech ELLC - 175,000 (175,000)
‘Tony Stacy - ONB Bank/PFG Loan - 131,860 (131,860)
‘Tony Stucy - Personal Expenses 3.304 465,754 (462,430)
Tony Stacy - Palo Verde Capital, LC 143.250 1,071,134 (927,874) [6]
‘Tony Stacy - Patrick Horsman Loan 325,100 210,000 W5.000 [7]
‘Tony Stacy - Rachael Stacy - 42.103 (42,103)
Tony Stacy - Restaurants/Grocerics - 110,931 (140.931)
Tony Stacy - ‘Travel Expenses 1813 197,310 (195.497)
Tony Stacy - ‘Tulsa Nat'l Bank - 47.831 (47.831) [8]
Tony Stacy - Verde Capital 882.525 - 882.525
Tony Stacy - Whisper Rock : 23.854 (23.851) [9]
Subtotal Related Purtics 2,496,154 4,508,547 (2,012,394)
Savestmenis , , :
Acroinedical Colleton Service be . Co a 250,726 © (157.181)
AFI ‘Investments, LLG ~: i a 1,549,894 1;350.000 199.894
American Energy Solutions 903,172 ‘4,452,167 (3,548,995)
Arizona Diamondbs 725,000 635,000 - 90,000
Aviiry China Hl, LE 2 15,138 250.000 ? (234,862)
Aviary ¢ China 111, LLP beat a os =. 5. 1,000,000 (1,000,000)
Bees Free, Inc. oo . os "250,188 (250,188)
BOAL Pharmaccuticals/Asia Leechdom Holding Carp. 379,105 463.151 (84.046) [10]
Empire Financial Services. Inc. -- 1,403,852 (1,403,852) [11]
FF Arabian, LLC 4.000.000 8,278,784 (4,278,784) [13]
FF Touchback, LLC 3,600,000 3.000.000 600,000
TIPCG Hospital Investment. LLC 609,692 2,742,804 (2.133, 112)
Ice Now, LLC 150,060 550,000 (400.000)
John & Nancy Pearce 259.060 200,000 59,000
Once Falten, LLC 1,250,000 1,000,000 250,000
bata Properties, LLC 1,105 1,212,760 (1.201.655) [14]
Palo Properties, LLC - Schwab 7279 444 919,031 (918.586) [ 15}
Palo Properties. LLC - Property Taxes Paid from Inca Loan - 3,019 (3,019.17) [12]
Palo Verde Energy Fund, LLC - 997,691 (997.691)
Phoncternct DBA Macstro 1,170,667 1.000.000 170,667
PV Capital, 1.1.C/Chris Jensen 345,000 495.500 (150.500)
SDX Acquisition, L1.C 12,730 683,792 (671,062)
Sidewinder Investment Group LLC 39,092 722.621 (683.529)
South Yate Properties, LLC 290,000 655,092 (365,092) [16]
South Yate Properties, LLC - Schwab 8823 48,255 262,612 (214,357) [17]
TCP-GBS Investment J, LLC 142,083 275.000 (132,917)
TCP Mach Specd Investment, LLC 246,087 369,202 (123.114)
TCP Peds Rehith, LLC 279,254 250.000 29,254
TCP SuccessED 562,500 1,003,200 (440.700)
Trunkbow Intemational Holdings Limited 972,156 1,006.857 (34,701)
The Reserve/lIPCG Real Estate Fund f, LLC 2,629,363 2,100.000 529,363
USDA Capital Carp. 15,821.122 15,121,015 700,107
Wolfgang Puck Bistro - 150,600 (150.600)
Subtotal Investments 36,094,406 53,054,662 (16,960,257)
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Simon Consulting, LUC

Robert Sonneuschein, ct. al. v. Palo Verde Capital, LLC, ct. al.

PVPE, LLC & Pato Verde Fund, LP
Sources & Uses Analysis: Summary

Exhihit 2

 

 

 
  
  
 

Catcgory Deposits Withdrawals Net Total Notes
davestor Transactions
Palo Verde Global Core Plus. 1.P 66,568 47,423 19,145 (38)
C. Scott Anthony 100.000 113.713 (13,713) {19)
Lyone H, Anthony Revocable ‘Trust Did. 11/30/2001 2,158,000 - 2,158,000
William Austin IRA 460,408 21,611 438,797
Keevin Bares 286,653 20,000 266,653
Keevin Bames Roth IRA 6,000 - 6,000
Michael Beck IRA 450,000 144,425 305.575
Edward UH. Bellatti 1,600,000 743,051 256.949
Bentley Bobrow 459,965 486.377 (26,412)
Bentley Bobrow IRA 358,500 379.086 (20,586)
Kenny Bobrow Trust 750,600 803,344 (53.344)
John R. Cassimus IRA 167,000 - 467,000
John R. Cassimus Roth IRA 15,000 - $5,000
D'Lesia Lynn Chambers 1,000,000 16 999,984
Ashley Dalton IRA 49,000 28.025 20.975
Bryan Dalten | 144,000". 146,089 - (2.089)
Bryan Dalton SEP.JRA | 19.500. mh 119,500 |
‘The Rebert A. & Pamela L. nse Revocable Trost 223,398. 222,948 "450
Robert-Eckholt ; 250,000. : 250,000
Michael Farley: - o 1,150,000, - A 150,000
Michael Farley IRA. 105,21 - 105,216
Martin-Garber, Jr? IRA” ~ 1,000,060: - é af 000,000
Barba J.,Gilmore IRA 339, 636° 33.095 -*306,5 54
Barbara J. Gilmore IRA (Inherited) 670,000 121,177 548,823
Gerald R. Hale IRA 756.350 675 755.675
Janic B. Male IRA 16,000 250 15,750
Janie 33. Jlate Revocable Trust Did. 11/04/1994 427,005 - 427,005
Neely & Susan Hall 481,000 214.050 266.950
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Simona Consulling, LLC
Robert Sunnenschein, et. al. y. Paty Verde Capital, LLC, et. at

PYPE, LLC & Palo Verde Fund, LP

 

 

 

  

 

Sources & Uses Analysis: Summary Exhibit 2
Category Deposits Withdrawals Net Total Notes
Neely Keith Half IRA 49,000 23,050 25,950
Roanie W. Herron Revocable Trust Did. 01/28/2003 826,405 - 826,405
Gloria Jane Hooker IRA 284,000 - 284,000
Leroy G. Hooker IRA 56,000 - 56,000
Craig H. Jackson Trust Did, 06/06/1997 9,000,000 2,238,938 6,761,062
Rachel M. Jensen 90,000 92.473 (2,473)
Robert Krier IRA 1,000 - 64,000
Steva K. Krier 16,000 150 15,850
Leonard Family Trust 451,370 77.000 374,370
Patricia S. Leonard IRA 38.500 250 38.250
Patricia 5. Leonard IRA (Inherited) 55,500 - 55,500
Philip A. Logsdon IRA 750,000 587.796 162.204
Brenda L. Maples SEP IRA 775.000 548,684 226,316
Shane Martin 326,588 46,300 280,283
Shane Martin Roth IRA 19,000 500 18,500
Shane Martin SEPIRA  ~ 13,500 200 11,300
Shane Martin Simple IRA © 86,000 86,000.
Carolyn, Sue MciniJion IRA . 300,000 28, 350 , 271,650
Larry Memillen IRA, ‘ : 260,000” 19,000 _ 181,000
Patricia R. Mewilliams “Trust Did 037 16/2006. - . : 300,012. 283,00) 37,001
Bryte Molder 7 a 600,000. 555,000 _ 45,000
Nbmp Corp. Employer Stack Obnship Plan Ths A&B | - 750000 = = = 750,000
Joan. O'Toole IRA: . . OO PBOTS ~ 1,153 19,862
Tin & Joun OTodle inwros': Poa mo - 461,000, 10,000 451,000
Tim O'Tonle IRA , a - "36,3257 692” 35,633
Tim O'Toole IRA (Inherited) 176,350 16,640 159,710
Andrew Parkinson Revocable Trust IMA 500.000 510,106 (10,106)
Kay Parkinson Revocable ‘Trust IMA 500,000 510,106 (10,106)
Deidre M. Peters IRA 500,000 284,600 215,400
Victor R, Postillion 100,000 94,175 5.825
James Stanley Powers IRA 321,000 241,200 79,800
Patricia Ann Powers Trust 59,000 4,500 $4,500
Calvin O, & Pamela S. Purdin Jt Ten 654,453 100.000 554,453
Calvin O. Purdin IRA : 163.034 500 162.534
Randy Riali IRA 550,000 500 549,500
Lendell E. Rice 64.500 65,292 (792)
Lendell E. Rice IRA 135,500 137,165 (1.665)
Se Partners, LLC 401K Plan 54,990 $4,990 0
Se Partners, LLC Defined Benefit Plan 321.761 321,761 -
Jean Shildt [RA 153.500 - 153,500
Todd & Jean Shildt 145,446 - 145,446
Todd Shildt IRA 181,500 - 181,500
Charics Shipp IRA 179,500 250 479,250
Jolyn Smith IRA 252,000 29,400 222,600
Lloyd Smith IRA 154,000 100 153,900
Robert Sonnenschein IRA 909,949 648 909,302
Jamies P. Strickland 70,000 91,875 (21,875)
Robert Sugar IRA 1,660,600 1,044,402 (44,402)
United Heating & Cooling, Inc. 1,000,000 1,004,917 (4.917)
James Westerman IRA 262.321 852 261,469
Karla Westerman IRA 68,500 2,000 66,500
Karla Westerman Trust 128.000 5,000 123,000
Subtotal Investor Transactions 37,481,719 12,558,882 24,922,836
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Robert Sonnenschein, ct. al. v. Pato Verde Capital, LLC, et. al.

PVPE, LLC & Palo Verde Fund, 1.P
Sources & Uses Analysis: Summary

Category

Securities Transactions
Gains & Losses
Interest & Dividends
Purchases & Sales

Deposits = Withdrawals

Exhibit 2

Net ‘Total Notes

 

Subtotal Securities Transactions

Business Transactions
Advisory ees
Consulting Fees
401k Contributions
Advertising
Bank Fees
Bloomberg Finance LP
Commissions
Cynthia Robertson Interior Designs
Dues & Licenses
Miscelluncous:
Insurance - Business
Insurance - Disability :
Instirance - Employee Medical”
Insitrance - Life +: .
Interest
Legit Fees - Abril Rusher & ides PC
Legal <BF&D: 22> oo
Legal Fees - Business Filings
Legal Fees - Gillett Mottern & Walker LLP
Legal Fees - Gordon & Rees, LL?
Legal Fees - Johnson & Jones
Legal Fees - Jones Gotcher & Bogan PC
Legal Fees - Mustoc Law Firm
Legal Fees - Wilkin McMurray PLLC
Legal Fees - Winter Law Group PLC
Legal Fees - Matthew Janssen
Legal Fees - Duane Morris LLP
|.egal Fees - CT Corporation
Legal Fees - Michael $. Martin
Legul Fees - Shaffer Lombardo Shurin
Legal Fees - Chinnery Evans & Nail
Legal Fees - Davis, Ketchmark, McCreight & Kennedy
Legal Fees - Kenneth S. Womack
Legal Fees - Dunn & Davison
Legal Fees - Galamyk & Associates
Legal Fees - Jones, Gotcher & Bogan
Legal Fees - Lundeen & Lundeen
Legal Fees - McDowell, Rice, Smith & Buchanan
Legal Fees - Manroc & Associates
Mcals
Office Supplies & Services
Payroll Expenses
Professional Fees - Connally & Associates, PC
Professionat Fees - Dylan Corporate Services, Inc.
Professional Fees - Morgan Hunter Co.
Professtonal Fees - Clark, Geer, Latham & Assoc.

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22,973,394 22,958.419 14,976

236.740 34,201 202.539
675,315,394 679,207,930 (3.892.536)
698,525,529 702,200,530 (3,675,021)

 

1.081.395 4,292
26.151 216,833
- 72.328
- 123.656
77 25,656
- 47.454
- 32,627
- 143,706
- 20.533
* 249 7,730
To 86,774
- _ 7427
-. -- 313,936
ose : 4,081
tes 2.119
cto oe, 5,000
- 267
- 64,853
- 2,500
- $28
- 10,592
- 9,210
- 318
- 82.080
- 2,250
: 1,454
- 219
- 25,308
- 47,250
- 605
- 5.000
- 10,200
- 5,000
- 40,000
- 5.172
- 1,225
- 12.259
- 1018
. 547
10,503 743,228
27 2,241,240
- 62.192
- 132,928
- 26.774
- 476
- 1,208

1,077,102 [8]
(190,683)
72.328)
(123,656)
(25.579)
(47,454) [20]
(32,627)
(143.706) [21]
(20.533)
(7,482)
(86,767)
(7.427)
. (313,936)
(4,181)
: 10
(2,119)
(5,000)
(267)
(64,853)
(2,500)
(828)
(10,592) [22]
(9,210) [22]
(318)
(82.080) [22]
(2.250)
(1.454)
(3.219)
(25,308)
(47,250)
(605)
(5.000)
(10,200)
(5,000)
(40,600)
(5.172)
(1,225)
(12,259)
(1.018)
(547)
(732.726)
(2.241.255) [8]
(62.192)
(132,928) [22}|23)
(26,774)
(476)
(1.208)

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PYPE, LLC & Pato Verde Fond, LP

 

 

 
  

   

 

 

Sources & Uses Analysis: Summary Exhibit 2

Category Deposits — Withdrawals Net Total Notes
Professional Fees - MarksNelson - 15,365 (15.365)
Professional Fees - (lolmes & Holines - 274 (274)
Professional Fees - Smith & Boucher - 117.207 (117,207)
Professional Fees - Freudenrich Benefits Consulting - 116.640 (116.640)
Professional Fees - LLB&L - 900) (900)
Professional Fees - McGladrey & Pullen, LLP - 102,558 (102,558)
Professional Fees - Michael J Liccar & Co CPAs - 92,239 (92,239)
Professional Fees - PartnersAdmin LLC - 141.000 (141.600)
Professional Fees - Pilgrim Funds - 4,097 (4,097)
Professional Fees - Ronald Stone - 14.000 (14,000)
Professional Fees - Securities Compliance Advisors - 8.775 (8,775)
Professional Fees - Tulsa Connect - 454 (454)
Rent - 564,520 (564,520)
Simple IRA Contributions - 79,163 (79.363) [8]
Shipping 18 41,967 (41.949)
Taxes 390 1,669,791 (1.669,401)
Tefecommunications wo : 266. =: 239,307 (239.041)
Travel Bee _ 4,092 - (4,692)
Utilities — an -) * 16,039 _ (16,039)
Empire Contract Revenue 40,984,014 720,404 40,263,710
Empire-Cost of Goods Sold 1,165.” “31,751,296 (31,750,131)
American Energy Revenue... 2.315894. 2,315,804
American Energy:Cost of Goods Sok mo 2 30,679.) 1,359,223 (1,328,544)
Acumen-Encrgy' Revenue : so ‘ 269,767" - 269,767
Acumei Cost of Goods Sold ‘ co -_ 19.286” (19,286)
Subtotal Business ‘Transactions 44,720,710 41,732,652 2,988,059

fuca Loan Transactions
Inca Loan - Gross loan Proceeds 600,000 - 600,000.00 [12]
Inca Loun - Loan Fees & Closing Costs 481 21.206 (20,725.00) [12]
Subtotal inca Loan ‘Transactions 600.481 21,206 579,275

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PYPE, LLC & Palo Verde Fund, LP

 

 

       

 

 

Sourees & Uses Analysis: Summary Exhibit 2

Category Deposits — Withdrawals Net Total Notes

Miscellaneous Individuals
Andy Scherer - 5,200 (5,200)
Alan Kaplan - - .
Barry Zemel - - .
Brian Walterbach - 1,695 (1,695)
Chris Jensen - 13.400 (13,490)
Cyndy Johnston - 1,277 (1,277)
Dale Jensen - 1,500 (1,500)
Dan Patterson - 100,000 (200,000)
David Beene - 3.156 (3.136)
David Raubsch - 9.167 (9,167)
Dwight Smith - 1.809 (1.809)
Henry Pol - 1.060 (1,060)
Joc Sposi - 5.975 (5,975)
Joc Warden - 48,530 (48.530)
John Ieilner - 22.607 (22.607)
Leroy Dollarhide : _ mo: 4,000 (4,000)
Mika Yates oe . ~ 16,442 (16.442)
Meg Flannagan _ , . - 1,250 (1,250)
Patrick: W. Bartle ©: * aa SO -_ 7 9,900 (9,900)
Stephanie Hollingshead eth ; : -. 5 497.367 (117,367)
Troy Monn - Mary. KeMoran )- ee + 7354 (7,354)
Volefie Lynch : Be ai 9.784 __. (9,784)
Subtotal Miscellantaus Individuals: fo BRI AS2 * 381,452)

Other Transactions
Auto Payment - 44464 (44,464)
Charitable Contributions - 2.300 {2,360)
Credit Card/l.oun « BankFirst - 18,794 (18,794)
Credit Card/Loan - BancFirst loan ~ 4459649 (4,459,649)
Credit Card/Loan - Capital One - 72,859 (72.859)
Credit Card/loan - Chase - 240.947 (240,947)
Credit Card/Loan - Citi Cards - 4,570 (4,570)
Credit Card/Loan - City Naliane! Bank 209,152 805,320 (595,868)
Credit Card/Loan - Empire American Express - 68,025 (68,025)
Credit Casd/l.oan - HSBC Card Services - 354 (354)
Credit Card/Loan - Okiahon State Bank - 266,468 (266,468)
Credit Card/Loan - Security Bank - (3,685.125 (13,685,125)
Credit CardA.oan - RCB Bank Pioncer - 2,304.503 (2,304,503)
Credit Card/l.oan - Washinglon Mutual - 150 (150)
Credit Card/Loan - Imperial Credit Corporation - 60,814 (60,814)
Credit Card/Loan - Crossfirst 142,000 71,374 70,626
Credit Card/Loan - Arvest - 105,000 (105,000)
Credit Card/Loun - Unknown 69,000 181,000 (112,000)
Harvey Howard, Inc. - 10.500 (10,500)
JB Leach, LLC - 12,000 (12,000)
Loan - Robert Eckholt - 50.000 (50.000)
Paragon Financia! Group 26.795 9,053 17,742
RMJ Electrical Contractors - 23,069 (23.069)
Reversed Items 1.959.309 1.959.309 :
Subtotal Other Transactions 2,406,536 24,108,884 (22,002,328)

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Simon Consulting, LLC
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PYPE, LLC & Palo Verde Fund, LP

 

 

Sources & Uses Analysis; Summary Exhibit 2
Category Deposits — Withdrawals Net Total Notes

 

Verde Capital Transactions
Red Mountain Storage - 1,999,052 (1,999,052)

Unknown Transactions

 

 

Unknown Transfers 6.500 15,549 (9,049)
Empire Financial Services - Unknown ‘Transactions 27,738,921 13,269,004 14.469,918
Amcrican/Acumen Unknown Transactions 13,133,065 3,500,707 9.632.357
Subtotal Unksawn Transactions 6,500 15,549 24,093,225
Graad Total 962,470,587 963,518,475 (1,047,888)
0
Noles:

J{] This account with MF Global is a currency exchange account. MF Global has since gone bankrupt and ceased activity. All attempts
to obtain bank records were unsuccessful.

|2) The original bank account for the Paragon Capital Advisors, LLC, General Pariner of the fund. - Per Tony Stacy

13] Paul Ross paid. his PAR IH {non-receivership, non-Fund company) payroll thraugh the General Partner's bank account and payroll
system. - Per Paul Ross and Tony Stacy

14] $360, 135:in proceeds from the Inca foun on the Palo Properties | house were used to repay Empire. Financial Services for the Cancer
Care Associates eciniaet. B

{5} Stock: purchased aid held by DC Capital Partners, LLC. - Per’ Tony Stacy. On the books as a loan to the General Partner.

{6} Non-recéivership entity. Palo Verde Capital, LLC was the Registered, Investment Advisor ‘sempany operated by Tony. Stacy. -Per

 

    

 

(7) Note bétween’ Tony Stacy and Patricks Horsman to repay Empire Fi Financial Services for the ‘Cancer Care Associates contract.

18} Per Paragon Capital Advisors, LLC's Quickbooks provided by Tony Stacy.

19] Golf Membership held by Tony Stacy.

Jt0] Pato Verde Fund, LP borrowed $f snillivn from Bay Peuk, LLC to purchase shares and warrants in BOAI Pharmaceuticals, LLC. Bay
Peak indicated that the Fund has made payments totaling $511,526: however the Receiver is unable to locate alleged payments of
$11.554.00 on 05/20/51, $20,747.84 an 07/07/11, and $16,074.00 on 09/14/11 from the receivership entities’ bank accounts.

{J1] Payments to Empire Financial Services included various fund business expenses.

[12] Palo Properties, LLC borrowed $600,000.00 from Inca Propertics secured by the entity's property. The loan proceeds were used as
shown below, and the remaining funds ($215,640.00) were deposited into a Palo Verde, LP bunk account. A partial refund of these
closing costs totaling $480.83 was Inter deposited into an account held by Paulo Verde Private Equity Fund. 1.P.

Grass loan proceeds $ 600,000.00

Paid to Empire Financial Services, Inc. (360,135.00)
Property taxes paid on behalf of Palo Properties, LLC (3,019.17)
Loan fees & closing costs (21,205.83)

Net loan proceeds deposited to Palo Verde Fund, LP account: § 215,640.00
[13] ‘The $4,000,000 received was an investment in the fund, not a repayment of the investment. This reccipt is used to offset the
investment for the purposes of this analysis.
[14] Includes the purchase of the DC Ranch property as well as payments made by the fund an behalfof Palo Properties, LLC.
[tS] Consistes of transfers made between Palo Verde Fund's bank account and a bank account dedicated to Palo Properties, LLC.
{1G} Includes the purchase of the propertics as well as payments made and received by the fund on behalf of South Yale Propentics, LLC.

[17] Consistes of wansfers made between Palo Verde Fund's bank account and a bank account dedicated to South Yale Propertics, LLC.

[18] Pato Verde Gichal Core Plus was an entity operated by Tony Stacy and Bub Boulware under the Palo Verde Umbrella. It was
disbanded after one year - Per ‘Tony Stacy.

[19] Scott Anthony's interest in the fiend is primarily through the Lynne HL. Antheny Trust. Scott and Lynne divorced in 2011.

(20] A terminal was rented from Bloomberg. LP for trading activity.

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Sources & Uses Analysis: Summary Exhibit 2
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Category Deposits Withdrawals Net Total Notes

 

[24] Interior designer for Palo Properties as well as Palo Verde's office. The Receiver believes the design services provided to Palo
Properties were paid by Palo Properties.

[22] Inctudes investment-related expenses.

[23] Dylan Corporate Services is an accounting and consulting finn awned and operated by Robert Eckholt. Dylan Corporate Services
provided duc diligence and accounting work Cor the fund on nutiple investments. Dylan also provided private jet services to Tony

Stacy. - Per Tony Stacy

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